                                                                             Motion GRANTED.
                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE

 UNITED STATES of AMERICA,                           Case No: 3:13-00012
                                                     JUDGE TRAUGER
 vs.


 CHARLES JEFFREY EDWARDS, et al.            /

             DEFENDANTS’ UNOPPOSED REQUEST TO TRAVEL

        Come Now the Defendants Charles Jeffrey Edwards and Brenda

 Edwards by and through their undersigned counsel and respectfully file this

 unopposed request to travel for the Christmas Holiday. In support the undersigned

 would show as follows:

        1. Mr. and Mrs. Edwards seek the Court’s permission to travel with their

 three children to Orlando for the Christmas holiday, specifically from December

 26th to January 2nd.

        2. The family intends to drive to Central Florida from Houston to allow the

 children to visit Disney World during their school vacation.

        3. The undersigned has spoken with AUSA Sandra Moses who has advised

 she has no objection to Mr. and Mrs. Edwards’ request to travel.

        4. The Defendants have been on pre-trial release for a significant length of

 time and have successfully met all the conditions of their release during that time.

 That would include their successfully meeting the requirements of all previous

 travel requests approved by this Honorable Court.




Case 3:13-cr-00012      Document 165      Filed 12/19/14    Page 1 of 1 PageID #: 604
